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                                                                                File No. 004150.000009


                                            June 12, 2018

      Honorable Paul S. Diamond
      UNITED STATES DISTRICT COURT
      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
      U.S. Courthouse
      601 Market Street
      Room 6613
      Philadelphia, PA 19106

              RE: JOHN DOE v. ST. JOSEPH'S UNIVERSITY and JANE ROE
                  USDC - EASTERN, No. 2:18-cv-02044

      Dear Judge Diamond:

             Today I was retained to represent Defendant Jane Roe in the above referenced
      matter. This afternoon, I learned that Plaintiff has already been deposed and there are a
      number of additional depositions scheduled, including one as early as tomorrow
      afternoon. I have contacted counsel requesting that the deposition tomorrow be
      adjourned. Counsel for St. Joseph’s University does not object to the adjournment
      request. I have not yet heard from Plaintiff’s counsel in this regard.

              A review of the docket indicates that the Complaint in this matter was filed on
      May 15, 2018, and my client was served on May 25, 2018. My client’s answer is not due
      until June 15, 2018. Further, I note that no Rule 26 conference has yet taken place. At
      this time, I have nothing other than the Complaint and the TRO papers. It is my
      understanding that tomorrow’s deposition is of the attorney retained by St. Joseph’s
      University to conduct its investigation. I have no documents regarding the investigation,
      and have not had an opportunity to so much as read the lengthy Complaint in its entirety,
      let alone meet with my client in person to discuss this matter. Without this most basic
      information, I am unable to competently represent my client’s interests at a deposition.
      Further, it is my understanding that the deposition of Plaintiff has already taken place
      before counsel entered for Jane Roe.



           _____________________________________________________________

Philadelphia, PA Pittsburgh, PA Cherry Hill, NJ New York, NY Hicksville, NY Wilmington, DE
            Miami, FL Tampa, FL Jacksonville, FL Morgantown, WV Towson, MD
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       I am respectfully requesting a call with the Court and all counsel to discuss
adjourning the depositions that were scheduled before we entered into the case, having a
Rule 26 Conference to discuss discovery in this matter, and permitting a second
deposition of Plaintiff once meaningful discovery has been exchanged.

          Thank you for your consideration of this request.


                                        Respectfully submitted,

                                        /s/ Susan R. Engle

                                        SUSAN R. ENGLE

SRE/ns

cc:       Edward J. Schwabenland, Esquire
          John M. Myers, Esquire




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